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UNITED sTATEs DISTRICT coURT mill "'F"f' M n g
wEsTERN I)ISTRICT 0F TENNESSEE " ` `
Western Division 05 JUL -f PH m 22

UNITED STATES OF AMERICA l}'§

  
     

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1»: WT COUHI
-vs- Case No. 2:%§§"20"@@%

BENORIA BELL

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlND|NGS
ln accordance with the Bail Reform Act, 18 U.S.C. § 3142(6, a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required.

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECT|ONS REGARD|NG DETENTION

BENORIA BELL is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. BENORIA BELL shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:03-CR-20191 was distributed by faX, mail, or direct printing on
July 7, 2005 to the parties listed.

 

 

Terrell L. Harris

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

